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            HIGHLY CONFIDENTIAL – SEALED FILING




                  EXHIBIT A




      Filed Under Seal and Subject to Stipulated Protective Order in
          United States, et al. v. Google LLC, No. 20-cv-3010-APM
       State of Colorado, et al. v. Google LLC, No. 20-cv-3715-APM
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA, et al.,

                                   Plaintiffs,              Case No. 1:20-cv-03010-APM

    v.                                                      HON. AMIT P. MEHTA
    GOOGLE LLC,

                                   Defendant.


    STATE OF COLORADO, et al.,

                                   Plaintiffs,              Case No. 1:20-cv-03715-APM

    v.                                                      HON. AMIT P. MEHTA
    GOOGLE LLC,

    Defendant.



             PLAINTIFF STATES’ EXHIBITS OFFERED WITHOUT OBJECTION

           Plaintiff States offer the trial exhibits listed below for admission into evidence. Defendant

   Google has not lodged any objection to the exhibit listed below.



PSX00007              PSX00011                   PSX00013            PSX00016               PSX00017
PSX00018              PSX00019                   PSX00020            PSX00040               PSX00042
PSX00080              PSX00083                   PSX00089            PSX00090               PSX00091
PSX00092              PSX00111                   PSX00115            PSX00116               PSX00117
PSX00118              PSX00124                   PSX00125            PSX00126               PSX00127
PSX00128              PSX00129                   PSX00130            PSX00131               PSX00132
PSX00133              PSX00134                   PSX00136            PSX00137               PSX00139
PSX00141              PSX00143                   PSX00144            PSX00145               PSX00153
PSX00159              PSX00163                   PSX00165            PSX00167               PSX00168
PSX00169              PSX00172                   PSX00174            PSX00175               PSX00176
PSX00178              PSX00179                   PSX00181            PSX00182               PSX00183
PSX00184              PSX00186                   PSX00188            PSX00190               PSX00191

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PSX00194            PSX00196         PSX00197          PSX00198         PSX00199
PSX00200            PSX00201         PSX00203          PSX00204         PSX00205
PSX00206            PSX00207         PSX00208          PSX00209         PSX00211
PSX00212            PSX00213         PSX00215          PSX00216         PSX00217
PSX00218            PSX00220         PSX00221          PSX00223         PSX00224
PSX00226            PSX00227         PSX00228          PSX00229         PSX00230
PSX00231            PSX00232         PSX00234          PSX00239         PSX00243
PSX00244            PSX00245         PSX00246          PSX00247         PSX00248
PSX00251            PSX00254         PSX00263          PSX00264         PSX00265
PSX00266            PSX00267         PSX00271          PSX00272         PSX00274
PSX00275            PSX00276         PSX00277          PSX00279         PSX00280
PSX00282            PSX00283         PSX00284          PSX00285         PSX00286
PSX00287            PSX00288         PSX00289          PSX00290         PSX00291
PSX00292            PSX00293         PSX00294          PSX00295         PSX00299
PSX00300            PSX00302         PSX00304          PSX00305         PSX00306
PSX00307            PSX00309         PSX00310          PSX00316         PSX00318
PSX00322            PSX00326         PSX00328          PSX00331         PSX00333
PSX00334            PSX00335         PSX00337          PSX00340         PSX00346
PSX00352            PSX00353         PSX00355          PSX00357         PSX00358
PSX00359            PSX00360         PSX00363          PSX00367         PSX00368
PSX00369            PSX00370         PSX00374          PSX00377         PSX00378
PSX00383            PSX00384         PSX00385          PSX00386         PSX00387
PSX00390            PSX00391         PSX00392          PSX00393         PSX00394
PSX00395            PSX00396         PSX00397          PSX00398         PSX00401
PSX00402            PSX00403         PSX00404          PSX00405         PSX00409
PSX00410            PSX00411         PSX00412          PSX00415         PSX00416
PSX00417            PSX00418         PSX00419          PSX00420         PSX00421
PSX00422            PSX00423         PSX00424          PSX00425         PSX00426
PSX00427            PSX00428         PSX00429          PSX00430         PSX00431
PSX00432            PSX00433         PSX00434          PSX00435         PSX00437
PSX00438            PSX00439         PSX00440          PSX00441         PSX00442
PSX00443            PSX00444         PSX00445          PSX00446         PSX00447
PSX00448            PSX00449         PSX00450          PSX00451         PSX00453
PSX00454            PSX00455         PSX00456          PSX00457         PSX00458
PSX00459            PSX00460         PSX00461          PSX00462         PSX00463
PSX00464            PSX00465         PSX00466          PSX00467         PSX00468
PSX00469            PSX00470         PSX00472          PSX00475         PSX00476
PSX00477            PSX00478         PSX00480          PSX00481         PSX00482
PSX00483            PSX00484         PSX00486          PSX00489         PSX00490
PSX00501            PSX00503         PSX00504          PSX00505         PSX00506
PSX00507            PSX00509         PSX00511          PSX00512         PSX00513
PSX00514            PSX00515         PSX00516          PSX00517         PSX00518
PSX00519            PSX00520         PSX00521          PSX00522         PSX00523
PSX00525            PSX00537         PSX00538          PSX00542         PSX00543
PSX00545            PSX00548         PSX00551          PSX00554         PSX00555
PSX00556            PSX00557         PSX00560          PSX00562         PSX00563
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PSX00564            PSX00565         PSX00566          PSX00567         PSX00569
PSX00570            PSX00571         PSX00572          PSX00573         PSX00574
PSX00575            PSX00577         PSX00578          PSX00579         PSX00580
PSX00581            PSX00583         PSX00584          PSX00585         PSX00588
PSX00589            PSX00591         PSX00592          PSX00594         PSX00598
PSX00602            PSX00604         PSX00605          PSX00606         PSX00612
PSX00613            PSX00614         PSX00617          PSX00624         PSX00625
PSX00627            PSX00629         PSX00631          PSX00635         PSX00641
PSX00645            PSX00647         PSX00648          PSX00650         PSX00651
PSX00652            PSX00653         PSX00654          PSX00655         PSX00656
PSX00657            PSX00658         PSX00660          PSX00662         PSX00663
PSX00664            PSX00666         PSX00667          PSX00668         PSX00671
PSX00673            PSX00674         PSX00675          PSX00682         PSX00684
PSX00685            PSX00694         PSX00695          PSX00696         PSX00697
PSX00709            PSX00710         PSX00711          PSX00712         PSX00713
PSX00714            PSX00716         PSX00718          PSX00719         PSX00720
PSX00721            PSX00722         PSX00723          PSX00724         PSX00725
PSX00726            PSX00727         PSX00731          PSX00734         PSX00735
PSX00736            PSX00738         PSX00739          PSX00740         PSX00741
PSX00742            PSX00744         PSX00747          PSX00748         PSX00749
PSX00750            PSX00751         PSX00752          PSX00753         PSX00755
PSX00756            PSX00759         PSX00760          PSX00762         PSX00763
PSX00764            PSX00765         PSX00766          PSX00767         PSX00768
PSX00769            PSX00770         PSX00772          PSX00774         PSX00775
PSX00776            PSX00782         PSX00783          PSX00784         PSX00785
PSX00787            PSX00788         PSX00789          PSX00792         PSX00793
PSX00794            PSX00795         PSX00796          PSX00798         PSX00799
PSX00802            PSX00803         PSX00804          PSX00805         PSX00806
PSX00808            PSX00819         PSX00833          PSX00854.009     PSX00876
PSX00880            PSX00883         PSX00885          PSX00888         PSX00889
PSX00891            PSX00893         PSX00897          PSX00898         PSX00900
PSX00908            PSX00909         PSX00933          PSX00954         PSX00955
PSX00956            PSX00957         PSX00958          PSX00972         PSX00973
PSX00975            PSX00976         PSX00984          PSX00985         PSX00987
PSX00988            PSX00989         PSX01002          PSX01003         PSX01004
PSX01005            PSX01010         PSX01011          PSX01012         PSX01013
PSX01014            PSX01016         PSX01017          PSX01019         PSX01020
PSX01021            PSX01022         PSX01023          PSX01044         PSX01052
PSX01055            PSX01056         PSX01061          PSX01062         PSX01064
PSX01066            PSX01067         PSX01075          PSX01076         PSX01077
PSX01078            PSX01080         PSX01100          PSX01105         PSX01106
PSX01107            PSX01109         PSX01110          PSX01112         PSX01113
PSX01114            PSX01115         PSX01119          PSX01129         PSX01131
PSX01136            PSX01137         PSX01146          PSX01147         PSX01149
PSX01150            PSX01151         PSX01158          PSX01159         PSX01160
PSX01189
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Dated: September 15, 2023           Respectfully submitted,

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